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     Attorney(s) for Plaintiff Display Technologies, LLC
6

7
                       IN THE UNITED STATES DISTRICT COURT
8                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
9

10
      DISPLAY TECHNOLOGIES, LLC,                     CASE NO. 3:20-cv-06621

11                        Plaintiff,
                                                     COMPLAINT FOR PATENT
12    v.                                             INFRINGEMENT
13
      ZENREACH, INC.,
14                                                   JURY TRIAL DEMANDED
                          Defendant.
15

16

17           Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this
18   Complaint against Zenreach, Inc. (“Defendant” or “Zenreach”) for infringement of
19
     United States Patent No. 9,300,723 (the “ ‘723 Patent”) and alleges as follows:
20

21                             PARTIES AND JURISDICTION
22
             1.    This is an action for patent infringement under Title 35 of the United
23
     States Code. Plaintiff is seeking injunctive relief as well as damages.
24

25           2.    Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
26
     (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
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     infringement arising under the United States patent statutes.
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                      PLAINTIFF’S COMPLAINT AGAINST DEFENDANT ZENREACH, INC.
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            3.     Plaintiff is a Texas limited liability company with a place of business at

2    1801 NE 123rd Street, Suite 314, North Miami, FL 33161.
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            4.     On information and belief, Defendant is a Delaware corporation with a
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5    place of business at 1 Letterman Drive, Building C, Suite 3500, San Francisco, CA

6    94129. On information and belief, Defendant may be served through its registered
7
     agent, Incorporating Services, Ltd., 3500 S. Dupont Hwy., Dover, DE 19901.
8

9           5.     This Court has personal jurisdiction over Defendant because Defendant

10   has committed, and continues to commit, acts of infringement in this District, has
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     conducted business in this District, and/or has engaged in continuous and systematic
12

13   activities in this District.
14          6.     Upon information and belief, Defendant’s instrumentalities that are
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     alleged herein to infringe were and continue to be used, imported, offered for sale,
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17   and/or sold in this District.
18
                                            VENUE
19
            7.     On information and belief, venue is proper in this District under 28
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21   U.S.C. § 1400(b) because Defendant is deemed to be a resident of this District.
22
     Alternatively, acts of infringement are occurring in this District and Defendant has a
23
     regular and established place of business in this District.
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25                              COUNT I
           (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)
26

27          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
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           9.     This cause of action arises under the patent laws of the United States

2    and, in particular, under 35 U.S.C. §§ 271, et seq.
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           10.    Plaintiff is the owner by assignment of the ‘723 Patent with sole rights
4

5    to enforce the ‘723 Patent and sue infringers.

6          11.    A copy of the ‘723 Patent, titled “Enabling social interactive wireless
7
     communications,” is attached hereto as Exhibit A.
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9          12.    The ‘723 Patent is valid, enforceable, and was duly issued in full

10   compliance with Title 35 of the United States Code.
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           13.    Defendant has infringed and continues to infringe one or more claims,
12

13   including at least Claim 1 of the ‘723 Patent by making, using, and/or selling media
14   systems covered by one or more claims of the ‘723 Patent. For example, Defendant
15
     makes, uses, and/or sells the Zenreach Attract Proximity marketing system, and any
16

17   similar products (“Product”). Defendant has infringed and continues to infringe the
18
     ‘723 Patent in violation of 35 U.S.C. § 271.
19
           14.    Regarding Claim 1, the Product is configured for customers to receive a
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21   media file (e.g. notification or offer) by a media terminal (e.g. smartphone) from a
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     media node (e.g. WiFi server) over a communication network (e.g. WiFi network)
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     through a communication link. Certain aspects of this element are illustrated in the
24

25   screenshots below and/or those provided in connection with other allegations herein.
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           15.    The Product includes at least one media terminal in an accessible relation
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     to at least one interactive computer network. For example, the Product provides for
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22   a smartphone (at least one media terminal) to detect a WiFi network when in range of
23
     signals from beacons. Certain aspects of this element are illustrated in the screenshots
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     below and/or in those provided in connection with other allegations herein.
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           16.   The Product includes a wireless range structured to permit authorized
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     access to said at least one interactive computer network. For example, when the
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18   smartphone is in wireless range of the beacons, connection of smartphone with the
19
     cloud server is permitted through a WiFi connection (interactive computer network).
20
     Certain aspects of this element are illustrated in the screenshots below and/or those
21

22   provided in connection with other allegations herein.
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           17.    The Product includes at least one media node disposable within said
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     wireless range, wherein said at least one media node is detectable by said at least one
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17   media terminal. For example, the media node (beacons and/or WiFi server) send out
18
     continuous signals which are detected by an app residing on the smartphone (at least
19
     one media terminal). Certain aspects of this element are illustrated in the screenshots
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21   below and/or those provided in connection with other allegations herein.
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           18.    The Product includes at least one digital media file initially disposed on
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     at least one of said at least one media terminal or said at least one media node, said at

18   least one media terminal being structured to detect said at least one media node
19
     disposed within said wireless range. For example, marketers can store promotional
20

21   information within the server (media node) which is pushed to the media terminal

22   (smartphone) when the app residing within the smartphone (media terminal) detects
23
     the network through the beacons. Certain aspects of this element are illustrated in the
24

25   screenshots below and/or those provided in connection with other allegations herein.
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           19.    The Product includes a communication link structured to dispose said at
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     least one media terminal and said at least one media node in a communicative relation
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18   with one another via said at least one interactive computer network. For example,
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     the smartphone (media terminal) detects the presence of a beacon and connects to a
20
     server (i.e. media node) through the network (interactive computer network). Certain
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22   aspects of this element are illustrated in the screenshots below and/or those provided
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     in connection with other allegations herein.
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11         20.   The communication link is initiated by said at least one media terminal.
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     For example, the WiFi connection (communication link) is initiated by the
13
     smartphone (media terminal) when the app detects the beacon signal. Certain aspects
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15   of this element are illustrated in the screenshots below and/or those provided in
16
     connection with other allegations herein.
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           21.   The at least one media node and said at least one media terminal are
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     structured to transmit said at least one digital media file therebetween via said
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     communication link. For example, when the merchant terminal (media node) detects

2    a smartphone (media terminal), the merchant can target users by transmitting ads,
3
     notifications, etc. (digital media file) to be displayed on the smartphone (media
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5    terminal). Certain aspects of this element are illustrated in the screenshots below

6    and/or those provided in connection with other allegations herein.
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           22.    The communication link is structured to bypass at least one media
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     terminal security measure for a limited permissible use of the communication link by
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25   the media node to only transferring the at least one digital media file to, and displaying
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     the at least one digital media file on, the at least one media terminal. For example,
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     the communication link is structured in such a way that whenever a smartphone
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     (media terminal) passes within the wireless range of a beacon, the beacon will trigger

2    the notifications (digital media file) through the network to the smartphone (bypassing
3
     the security measure of media terminal i.e. notifications can be transmitted to the
4

5    media terminal). Further, notifications or ads (digital file) can be displayed on screen

6    of smartphone (media terminal). Certain aspects of this element are illustrated in the
7
     screenshots below and/or those provided in connection with other allegations herein.
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           23.    Defendant’s actions complained of herein will continue unless
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12   Defendant is enjoined by this court.
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           24.    Defendant’s actions complained of herein are causing irreparable harm
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     and monetary damage to Plaintiff and will continue to do so unless and until
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16   Defendant is enjoined and restrained by this Court.
17
           25.    Plaintiff is in compliance with 35 U.S.C. § 287.
18
                                  PRAYER FOR RELIEF
19

20         WHEREFORE, Plaintiff asks the Court to:
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           (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
22

23
     asserted herein;

24         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
25
     employees, attorneys, and all persons in active concert or participation with Defendant
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27
     who receive notice of the order from further infringement of United States Patent No.

28   9,300,723 (or, in the alternative, awarding Plaintiff running royalties from the time of
                                              12
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     judgment going forward);

2          (c)    Award Plaintiff damages resulting from Defendant’s infringement in
3
     accordance with 35 U.S.C. § 284;
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5          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

6          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
7
     entitled under law or equity.
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     Dated: September 21, 2020              Respectfully submitted,

11                                          /s/ Stephen M. Lobbin
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                                            Attorney(s) for Plaintiff RFID Technology
17                                          Innovations, LLC
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                    PLAINTIFF’S COMPLAINT AGAINST DEFENDANT ZENREACH, INC.
